Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 1 of 51 Page ID #:13

                                                                                                        Service of Process
                                                                                                        Transmittal
                                                                                                        12/21/2021
                                                                                                        CT Log Number 540778894
     TO:         Melissa Gravlin
                 Fca US LLC
                 1000 CHRYSLER DR OFC OF
                 AUBURN HILLS, MI 48326-2766

     RE:         Process Served in California

     FOR:        FCA US LLC (Domestic State: DE)




     ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

     TITLE OF ACTION:                                 Re: Esmeralda Ramirez and Gustavo Ortiz Hernandez aka Gustavo Ortiz // To: FCA
                                                      US LLC
     DOCUMENT(S) SERVED:                              Summons, Complaint, Exhibit(s), Demand, Notice, Instructions, First Amended
                                                      General Order, Stipulation(s), Attachment(s), Order, Information, Cover Sheet,
                                                      Addendum and Statement
     COURT/AGENCY:                                    Los Angeles County - Superior Court - Central District, CA
                                                      Case # 21STCV45978
     NATURE OF ACTION:                                Product Liability Litigation - Lemon Law - 2020 Jeep Compass, VIN:
                                                      3C4NJCBB2LT249006
     ON WHOM PROCESS WAS SERVED:                      C T Corporation System, GLENDALE, CA
     DATE AND HOUR OF SERVICE:                        By Process Server on 12/21/2021 at 01:36
     JURISDICTION SERVED :                            California
     APPEARANCE OR ANSWER DUE:                        Within 30 days after service
     ATTORNEY(S) / SENDER(S):                         Roger Kirnos
                                                      Knight Law Group, LLP
                                                      10250 Constellation Blvd., Suite 2500
                                                      Los Angeles, CA 90067
                                                      (310) 552-2250
     ACTION ITEMS:                                    CT has retained the current log, Retain Date: 12/22/2021, Expected Purge Date:
                                                      12/27/2021

                                                      Image SOP

                                                      Email Notification, Lance Arnott sopverification@wolterskluwer.com

     REGISTERED AGENT ADDRESS:                        C T Corporation System
                                                      330 N BRAND BLVD
                                                      STE 700
                                                      GLENDALE, CA 91203
                                                      877-564-7529
                                                      MajorAccountTeam2@wolterskluwer.com
     The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
     relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)




                                                                                                        Page 1 of 2 / KA
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                                                                                                         Service of Process
                                                                                                         Transmittal
                                                                                                         12/21/2021
                                                                                                         CT Log Number 540778894
     TO:         Melissa Gravlin
                 Fca US LLC
                 1000 CHRYSLER DR OFC OF
                 AUBURN HILLS, MI 48326-2766

     RE:         Process Served in California

     FOR:        FCA US LLC (Domestic State: DE)




     of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
     advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
     therein.




                                                                                                         Page 2 of 2 / KA
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                                                           !® Wolters Kluwer

                             PROCESS SERVER DELIVERY DETAILS




Date:                          Tue, Dec 21, 2021

Server Name:                   Jim Sands




Entity Served                  FCA US LLC

Case Number                    215TCV45978

J urisdiction                  CA




           1110 111111111111111111111111111111111111
               Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 4 of 51 Page ID #:16
Electronically FILED by Superior Court of California, County of Los Angeles on 12/10/2021 10:40 AM Sherri R. Carter, Executive Offiler/Clerk of Court. by Y. Tarasyuk.Deputy Clerk
                                                                                       21STCV45978
                                                                                                                                                                           sum7,00
                                              •          SUMMONS                                                                             FOR COURT USE ONLY
                                                                                                                                          (SOLO PARA USO DE LA CORTE)
                                (CITACION JUDICIAL)
          NOTICE TO DEFENDANT:
         (AVISO AL DEMANDADO):
          FCA US LLC, a Delaware Limited Liability Company, and DOES 1
          through 10, inclusive,
          YOU ARE BEING SUED BY PLAINTIFF:
         (LO ESTA DEMANDANDO EL DEMANDANTE):
           ESMERALDA RAMIREZ and GUSTAVO ORTIZ HERNANDEZ aka
           GUSTAVO ORTIZ
             NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
             below.
               You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
            served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
            case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
            Online Self-Help Center (www.courtinlo.ca.goviselfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fcc, ask
            the court clerk for a fcc waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
             may be taken without further warning from the court.
                There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
            referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
            these nonprofit groups at the Califomia Legal Services Web site (www.lawhelocalifomia.org), the California Courts Online Self-Help Center
           (www.courtinfo.ca.goviselfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
            costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
            iAVISOI Lo ban demandado. Si no responde dentro de 30 dias, la code puede decidir en su contra sin escuchar su versien. Lea la informaciOn a
            continuaciOn.
               Tiene 30 DIAS DE CALENDARIO despues de que to entreguen este diadem y papeles legates pare presenter una respuesta par escn'to en esta
            code y hacer que se en/rogue una copia al demandante. Una carte o una Hamada telefonica no lo protegen. Su respuesta par escrito tiene que estar
            en formate legal correct° si desea quo procesen su case en la corte. Es posible que haya un formufario que usted puoda usor para su respuesto.
            Puede encontrar estos formularies de la code y mas informacien en el Centro de Ayuda do las Codes de California (www.sucorte.ca.gov). en la
            biblioteca de !eyes de su condado o en la code que le quede mas cerca. Si no puede pager to cuota de presentacion, pida al secretario de la code
            que le de on formulario de exencion de pago de cue/as. Si no presenta su respuesta a liempo, puede perder el case per incumplimiento y Ia carte le
            podra guitar su sue/do, dinero y bienes sin mas advertencia.
              Hay otros requisites legates. Es recomendable que home a on abogado inmediatamente. Si no conoco a on abogado, puede Hamar a on servic.io de
            romision a abegados. Si no puede pagar a un abogado, as posible qua cumpla con los requisites pare obtoner sorvicios logoloo grotuitos do un
            programa de servicios legates sin fines de lucre. Puede encontrar estos grupos sin fines de lucre en el sitio web de California Legal Services,
           (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California,(www.sucorte.ca.gov) o poniendose en con/ado con /a code o el
            colegio de abogados locales. AVISO: Por ley, la code Ilene derecho a reclamar las coo/as y los cosies exentos par importer un gravamen sobre
            cuatquier rectiperacian de $10,000 mA.s do valnr re.cihiria mediante rin acuerdn n one rnncesinn de arbitrate an on casn de derechn civil. Time quo
            pagar el gravamen de la canto antes de que la code pueda desechar el caso.

          The name and address of the court is:                                                                               CASE NUMBER:
                                                                                                                             (N,inion:, do!Cow):
         (El notnbre v dimccion de la colic, es):
          stanley Niosk Courthouse                                                                                            21 S-T- CV 45970
            1 11 North Hill Street
           Los Angeles, CA 90012
         The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
         (El nqmbre, la direcciOn el nuttier° de telefono del abogado del demandante, o del demandante que no tiene abogado, es):

                               Vd, Suite
           Ngit.RgAraligt1 1131)                           2500, Los Angeles, CA 90067
         (310) 552-2250                           Sherri R. Carter Executive Officer/ Clerk of Court
          DATE:                                                                                 Clerk, by                                                                  , Deputy
         (Fecha)       1 211 6i2021                                                             (Secretario)                            Y. Tarasvuk                        (A djunto)
        (For proof of service of this summons, use Proof of Service of Summons(form POS-010).)
        (Pam prueba de entrega de este citatiOn use el formulario Proof of Service of Summons,(POS-010)).
                                                    NOTICE TO THE PERSON SERVED: You are served
                                                    1.     as an individual defendant
                                                    2.   r-i
                                                           as the person sued under the fictitious name of (specify):


                                                    3. EX: on behalf of (specify): FCA US LLC, a Delaware Limited Liability Company

                                                         under: EX:1 CCP 416.10 (corporation)                                -
                                                                                                                             1 1 CCP 416.60(minor)
                                                                 ni CCP 416.20 (defunct corporation)                          -
                                                                                                                              1 1 CCP 416.70 (conservatee)
                                                                 ri       CCP 416.40 (association or partnership)                       CCP 416.90 (authorized person)

                                                                 1---1  other (specify):
                                                    4.   r--1   by personal delivery on (date):
                                                                                                                                                                              Page 1 of 1
           Form Adopted for Mandatory Use
             Judicial Council al California
                                                                                        SUMMONS                                                     Code of Civil Procedure §§ 412.20,465
                                                                                                                                                                      www.courtinto.ca.gov
            SUM-100 (Rev. July 1.2009)
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                  Case 2:22-cv-00419-ODW-JEM
                                        Los
                                             Document 1-1 Filed 01/20/22 Page 5 of 51 Page ID #:17
                                             on 12/16/2021 10:40 AM Sherri R. Carter, Executive Officer/Clerk of Court, by Y. Tarasyuk,Deputy Cl
Electronically FILE    y Superior Court of California, County of    Angeles
                                                                                  21S1CV45978
                                          Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Stephanie Bowick




                       KNIGHT LAW GROUP,LLP
                       Roger Kirnos(SBN 283163)
                  2
                       rogerk@knightlaw.corn
                  3    Maite C. Colon(SBN 322284)
                       maitec@knightlaw.com
                  4    10250 Constellation Blvd., Suite 2500
                       Los Angeles, CA 90067
                  5
                       Telephone:(310)552-2250
                  6    Fax:(310)552-7973

                  7    Attorneys for Plaintiffs,
                       ESMERALDA RAMIREZ
                  8    and GUSTAVO ORTIZ HERNANDEZ
                       aka GUSTAVO ORTIZ
                  9
                                                                   SUPERIOR COURT OF CALIFORNIA
                  10
                                                                        COUNTY OF LOS ANGELES
                  11
                       ESMERALDA RAMIREZ                                                        Case           21 ST CV 4             978
                  12   and GUSTAVO ORTIZ HERNANDEZ                                              Unlimited Jurisdiction
                  13   aka GUSTAVO ORTIZ,
                                                                                                COMPLAINT
                  14                           Plaintiffs,
                                                                                                  1. VIOLATION OF SONG-BEVERLY
                  15               VS.                                                               ACT - BREACH OF EXPRESS
                                                                                                     WARRANTY
                  16   FCA US LLC,a Delaware Limited Liability
                                                                                                  2. VIOLATION OF SONG-BEVERLY
                  17   Company,and DOES 1 through 10, inclusive,                                     ACT - BREACH OF IMPLIED
                                                                                                     WARRANTY
                  18                           Defendants.
                                                                                                  3. VIOLATION OF THE SONG-
                                                                                                     BEVERLY ACT SECTION 1793.2
                  19
                                                                                                Assignedfor All Purposes to the
                  20
                                                                                                Honorable
                  21
                                                                                                Department
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...............    .
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                                                                                  -1-
                                                                   RAMIREZ v. FCA US LLC COMPLAINT
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 I              Plaintiffs, ESMERALDA RAMIREZ and GUSTAVO ORTIZ HERNANDEZ aka

 2   GUSTAVO ORTIZ, allege as follows against Defendants, FCA US LLC, a Delaware Limited

 3   Liability Company,("FCA US LLC"); and DOES 1 through 10 inclusive, on information and
 4   belief, formed after an inquiry reasonable under the circumstances:

 5                                    DEMAND FOR JURY TRIAL

 6          1. Plaintiffs, ESMERALDA RAMIREZ and GUSTAVO ORTIZ HERNANDEZ aka

 7    GUSTAVO ORTIZ, hereby demand trial by jury in this action.

 8                                        GENERAL ALLEGATIONS

 9         2. Plaintiffs, ESMERALDA RAMIREZ and GUSTAVO ORTIZ HERNANDEZ aka

10   GUSTAVO ORTIZ,are individuals residing in the City of El Monte, County of Los Angeles, and
11   State of California.

12         3. Defendant FCA US LLC is and was a Delaware Limited Liability Company registered to

13   do business in the State of California with its registered office in the City of Los Angeles, County

14   of Los Angeles, and State of California.
15         4. These causes of action arise out ofthe warranty obligations ofFCA US LLC in connection

16   with a motor vehicle for which FCA US LLC issued a written warranty.

17         5. Plaintiffs do not know the true names and capacities, whether corporate, partnership,

18   associate, individual or otherwise of Defendant issued herein as Does 1 through 10, inclusive,
19   under the provisions of section 474 of the California Code of Civil Procedure. Defendant Does 1

20   thiough 10, inclusive, are in some manner responsible for the acts, occurrences and transactions
21   set forth herein, and are legally liable to Plaintiffs. Plaintiffs will seek leave to amend this

22   Complaint to set forth the true names and capacities of the fictitiously named Defendant, together

23   with appropriate charging allegations, when ascertained.

24         6. All acts of corporate employees as alleged were authorized or ratified by an officer,

25   director, or managing agent ofthe corporate employer.

26         7. The warranty contract is atfaChed and inc6rp-orated-153—its reference -a—s-Eidiibit-

27         8.   Plaintiffs hereby revoke acceptance of the Subject Vehicle.

28   ///

                                                 -2-
                                  RAMIREZ v. FCA US LLC COMPLAINT
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 1     9.   Pursuant to the Song-Beverly Consumer Warranty Act(herein after the "Act") Civil Code
 2   sections 1790 et seq. the Subject Vehicle constitutes "consumer goods" used primarily for family
 3   or household purposes, and Plaintiffs have used the vehicle primarily for those purposes.
 4      1 0. Plaintiffs are a "buyer" of consumer goods under the Act.

 5      1 1. Defendant FCA US LLC is a "manufacturer" and/or "distributor" under the Act.

 6      1 2. Plaintiffs hereby demand trial by jury in this action.

 7                                     FIRST CAUSE OF ACTION

 8                 Violation of the Song-Beverly Act — Breach of Express Warranty

 9      1 3. Plaintiffs incorporate herein by reference each and every allegation contained in the

10   preceding and succeeding paragraphs as though herein fully restated and re-alleged.

11      14. On September 7, 2020, Plaintiffs entered into a warranty contract with FCA US LLC

12   regarding a 2020 Jeep Compass, VIN: 3C4NJCBB2LT249006,("the Subject Vehicle"). The terms
13   ofthe owner's manual are described in full in Exhibit 1.
14      15. Defects and nonconformities to warranty manifested themselves within the applicable
15   express warranty period, including but not limited to engine.
16       16. The nonconformities substantially impair the use, value and/or safety of the Subject
17   Vehicle.

18       17. Plaintiffs delivered the Subject Vehicle to an authorized FCA US LLC repair facility for

19   repair of the nonconformities.

20       1 8. Defendant was unable to conform the Subject Vehicle to the applicable express warranty

21   after a reasonable number of repair attempts.
22       19. Under the Song-Beverly Act, Defendant had an affirmative duty to promptly offer to
23   repurchase or replace the Subject Vehicle at the time it failed to conform the Subject Vehicle to
24   the terms ofthe express warranty after a reasonable number of repair attempts.

25      20. Defendant failed to comply with its affirmative duty to promptly repurchase the Subject

26   Vehicle upon its qualification as a lemon under the Song-Beverly Act. 0711 y aft—Cr-Plaintiffs contact

27   of Defendant's customer service, did Defendant make a belated offer. That belated offer was not

28   made in compliance with the Song-Beverly Act for numerous reasons, including but not limited to

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 I   improper deductions such as deducting service contracts and included improper terms such as a
 2   vehicle condition clause and a factory equipment clause. The belated offer also failed to include,
 3   among other things, reimbursement for all incidental and consequential damages allowed under
 4   the Song-Beverly Act.
 5      21. By failure of Defendant to conform the Subject Vehicle to the express warranty, or to

 6   promptly issue restitution pursuant to the Song Beverly Act, Defendant is in violation ofthe Song

 7   Beverly Act.

 8      22. Under the Act, Plaintiffs are entitled to reimbursement of the price paid for the vehicle

 9   less that amount directly attributable to use by the Plaintiffs prior to the first presentation to an

10   authorized repair facility for a nonconformity.
11      23. Plaintiffs are entitled to all incidental, consequential, and general damages resulting from

12   Defendant's failure to comply with its obligations under the Song-Beverly Act.
13      24. Plaintiffs are entitled under the Song-Beverly Act to recover as part ofthe judgment a sum
14   equal to the aggregate amount of costs and expenses, including attorney's fees, reasonably incurred
15   in connection with the commencement and prosecution of this action.

16      25. Plaintiffs are entitled in addition to the amounts recovered, a civil penalty of up to two
17   times the amount of actual damages for FCA US LLC's willful failure to comply with its

18   responsibilities under the Act.
19                                     SECOND CAUSE OF ACTION

20                  Violation of the Song-Beverly Act — Breach of Implied Warranty
21      26. Plaintiffs incorporate herein by reference each and every allegation contained in the
22   preceding and succeeding paragraphs as though herein fully restated and re-alleged.

23      27. FCA US LLC and its authorized dealership at which Plaintiffs purchased the Subject

24   Vehicle had reason to know the purpose of the Subject Vehicle at the time of sale of the Subject

25   Vehicle. The sale of the Subject Vehicle was accompanied by an implied warranty of fitness.

26      28. The sale ofthe Subject Vehicle was accompanied by an implied warranty that the Subject

27   Vehicle was merchantable pursuant to Civil Code section 1792.

28      29. The Subject Vehicle was delivered to Plaintiffs with latent defects, including, but not

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                               RAMIREZ v. FCA US LLC COMPLAINT
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 1    limited to, engine.
 2          30. The Subject Vehicle was not fit for the ordinary purpose for which such goods are used.
 3          31. The Subject Vehicle did not measure up to the promises or facts stated on the container or
 4    label.

 5          32. The Subject Vehicle was not ofthe same quality as those generally acceptable in the trade.

 6    ///

 7          33. Plaintiffs justifiably revoked acceptance of the Subject Vehicle under Civil Code, section

 8    1794, et seq. prior to the filing of this Complaint during a contact to FCA US LLC's customer

 9    service.

10          34. Plaintiffs hereby revoke acceptance of the Subject Vehicle.
11          35. Plaintiffs are entitled to replacement or reimbursement pursuant to Civil Code, section

12    1794, et seq.

13          36. Plaintiffs are entitled to rescission of the contract pursuant to Civil Code, section 1794, et
14    seq. and Commercial Code, section 2711.
15          37. Plaintiffs are entitled to recover any "cover" damages under Commercial Code, sections

16    2711,2712, and Civil Code, section 1794, et seq.

17          38. Plaintiffs are entitled to recover all incidental and consequential damages pursuant to 1794

18    et seq. and Commercial Code, sections 2711, 2712, and 2713 et seq.
19                                        THIRD CAUSE OF ACTION

20                             Violation of the Song-Beverly Act Section 1793.2

21          39. Plaintiffs incorporate herein by reference each and every allegation contained in the
22    preceding and succeeding paragraphs as though herein fully restated and re-alleged.

23          40. Pursuant to Civil Code, section 1793.2, subdivision (a) a manufacturer that sells consumer

24    goods in California, for which it has made an express warranty, shall maintain service and repair

25    facilities or designate and authorize independent service and repair facilities to carry out the terms

26-   of those warranties.
27          41. Pursuant to Civil Code, section 1793.2, subdivision (b), when service and repair of goods

28    is necessary because they do not conform with the applicable express warranties, service and repair

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 1   shall be commenced within a reasonable time by the manufacturer or its representative.
 2      42. Civil Code, section 1793.2, subdivision (b) further states that goods shall be serviced or
 3   repaired so as to conform to the applicable warranties within 30 days. The terms of the express
 4   warranty are attached hereto as Exhibit 1.

 5      43. The defects in the Subject Vehicle impaired the safety of the Subject Vehicle.

 6      44. On at least one occasion, Plaintiffs delivered the Subject Vehicle to FCA US LLC's

 7   authorized repair facility, MONROVIA CHRYSLER DODGE JEEP RAM, at which point

 8   MONROVIA CHRYSLER DODGE JEEP RAM was not able to conform the Subject Vehicle to

 9   the terms ofthe express warranty within thirty (30) days.

10      45.    Plaintiffs are entitled to justifiably revoke acceptance ofthe subject vehicle under Civil

11   Code, section 1794, et seq.

12      46.    Plaintiffs hereby revoke acceptance of the subject vehicle.

13      47.    Plaintiffs are entitled to replacement or reimbursement pursuant to Civil Code, section

14   1794, et seq.
15      48.    Plaintiffs are entitled to rescission of the contract pursuant to Civil Code section 1794,

16   et seq. and Commercial Code, section 2711.
17      49.    Plaintiffs are entitled to recover any "cover" damages under Commercial Code sections

18   2711, 2712, and Civil Code, section 1794, et seq.

19      50.    Plaintiffs are entitled to recover all incidental and consequential damages pursuant to

20   1794 et seq., and Commercial Code sections, 2711, 2712, and 2713 et seq.

21      51. Plaintiffs are entitled in addition to the amounts recovered, a civil penalty of up to two

22   times the amount of actual damages in that FCA US LLC has willfully failed to comply with its

23   responsibilities under the Act.
24                                      PRAYER FOR RELIEF

25      WHEREFORE,Plaintiffs pray for judgment against Defendant, as follows:

26      1.—For general, special and actual damages according to proof at trial;

27      2. For rescission of the purchase contract and restitution of all monies expended;

28      3. For diminution in value;

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 1      4. For incidental and consequential damages according to proof at trial;
 2      5. For civil penalty in the amount oftwo times Plaintiffs' actual damages;
 3      6. For prejudgment interest at the legal rate;
 4      7. For revocation of acceptance of the Subject Vehicle;

 5      8. For reasonable attorney's fees and costs of suit; and
 6      9. For such other and further relief as the Court deems just and proper under the

 7            circumstances.

 8
 9   Dated:      12/16/2021                              KNIGHT LAW GROUP,LLP
10
11
12
13                                                       ROGER KIRNOS(SBN 283163)
                                                         MAITE C. COLON(SBN 322284)
14                                                       Attorneys for Plaintiffs,
                                                         ESMERALDA RAMIREZ
15
                                                         and GUSTAVO ORTIZ HERNANDEZ
16                                                       aka GUSTAVO ORTIZ

17   Plaintiffs, ESMERALDA RAMIREZ and GUSTAVO ORTIZ HERNANDEZ aka
18   GUSTAVO ORTIZ, hereby demand trial by jury in this action.
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                  EXHIBIT I
Case
i
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                                                                                    ,




I
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This Owner's Manual illustrates and describes the operation of features and equipment that are either standard or optional on this
vehicle. This manual may also include a description of features and equipment that are no longer available or were not ordered on
this vehicle. Please disregard any features and equipment described in this manual that are not on this vehicle. FCA US LLC reserves
the right to make changes in design and specifications, and/or make additions to or improvements to its products without imposing
a ny obligation upon itself to install them on products previously manufactured.
With respect to any vehicles sold in Canada, the name FCA US LLC shall be deemed to be deleted and the name FCA Canada Inc.
used in substitution therefore.
If you are the first registered retail owner of your vehicle, you may obtain a complimentary printed copy of the Warranty Booklet by
calling 1-877-426-5337 (U.S.) or 1-800-387-1143(Canada) or by contacting your dealer.
This Owner's Manual is intended to familiarize you with the important features of your vehicle. Your most up-to-date Owner's
Manual, NavigationUconnect manuals and Warranty Booklet can be found by visiting the website on the back cover. U.S.
residents can purchase replacement kits by visiting www.techauthority.com and Canadian residents can purchase replacement
kits by calling 1-800-387-1143.



        WARNING: Operating, servicing and maintaining a passenger vehicle or off-
   highway motor vehicle can expose you to chemicals including engine exhaust, carbon
   monoxide, phthalates, and lead, which are known to the State of California to cause
   cancer and birth defects or other reproductive harm. To minimize exposure, avoid
   breathing exhaust, do not idle the engine except as necessary, service your vehicle in a
   well-ventilated area and wear gloves or wash your hands frequently when servicing your
   vehicle. For more information go to wvvvv.P65Warnings.ca.gov/passenger-vehicle.
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The driver's primary responsibility is the safe operation of the vehicle. Driving while distracted can result in loss of vehicle control,
resulting in an accident and personal injury. FCA US LLC strongly recommends that the driver use extreme caution when using
any device or feature that may take their attention off the road. Use of any electrical devices, such as cellular telephones,
computers, portable radios, vehicle navigation or other devices, by the driver while the vehicle is moving is dangerous and could
lead to a serious accident. Texting while driving is also dangerous and should never be done while the vehicle is moving. If you
find yourself unable to devote your full attention to vehicle operation, pull off the road to a safe location and stop your vehicle.
Some states or provinces prohibit the use of cellular telephones or texting while driving. It is always the driver's responsibility to
comply with all iocal laws.

This Owner's Manual has been prepared to help you get acquainted with your new Jeep brand vehicle and to provide a
convenient reference source for common questions.

Not all features shown in this manual may apply to your vehicle. For additional information, visit www.mopancom (U.S.),
www.mopanca (Canada) or your local Jeep brand dealer.

DRIVING AND ALCOHOL
Drunk driving is one of the most frequent causes of accidents. Your driving ability can
be seriously impaired with blood alcohol levels far below the legal minimum. If you are
drinking, don't drive. Ride with a designated non-drinking driver, call a cab, a friend or
use public transportation.

WARNING!
Driving after drinking can lead to an accident. Your perceptions are less sharp, your
reflexes are slower and your judgment is impaired when you have been drinking.
Never drink and then drive.
                                                                                                                           gg;_19)
                   Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 20 of 51 Page ID #:32




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               8      and GUSTAVO ORTIZ HERNANDEZ
                      aka GUSTAVO ORTIZ
               9
                                                          SUPERIOR COURT OF CALIFORNIA
              10
                                                                 COUNTY OF LOS ANGELES
              11
                      ESMERALDA RAMIREZ                                       Case No.: 21ST- CV 45978
              12      and GUSTAVO ORTIZ HERNANDEZ
                      aka GUSTAVO ORTIZ                                       Unlimited Jurisdiction
              13
                                            Plaintiffs,                      DEMAND FOR JURY TRIAL
              14
                                                                              Assignedfor All Purposes to the
                                 VS.                                          Honorable
              15

              16      FCA US LLC,a Delaware Limited Liability                Department
                      Company,and DOES 1 through 10, inclusive,
              17
                                            Defendants.
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                                                                 DEMAND FOR JURY TRIAL
Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 22 of 51 Page ID #:34




 1                                  DEMAND FOR JURY TRIAL

2    Plaintiffs, ESMERALDA RAMIREZ and GUSTAVO ORTIZ HERNANDEZ aka GUSTAVO

     ORTIZ, hereby demand trial by jury in this action.
4

5    Dated: 12/16/2021                                    KNIGHT LAW GROUP,LLP

6

7
8                                                         Roger Kirnos(SBN 283163)
                                                          Maite C. Colon(SBN 322284)
9                                                         Attorney for Plaintiffs,
                                                          ESMERALDA RAMIREZ
10                                                        and GUSTAVO ORTIZ HERNANDEZ
                                                          aka GUSTAVO ORTIZ
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                                     DEMAND FOR JURY TRIAL
   Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 23 of 51 Page ID #:35

                                                                                                     Reserved for Cleric's File Stamp
                 SUPERIOR COURT OF CALIFORNIA                                                                                                     •
                    COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
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 Stanley Mosk Courthouse            .                                                              Superior Court of California
                                                                                                     County of Los Angeles
 1 11 North Hill Street, Los Angeles, CA 90012
                                                                                                           12/16/2021
                   NOTICE OF CASE ASSIGNMENT                                            . Tiantia Cztev,Ezeougve Ott=/ Oa otCaul
                                                                                           By                Y.Tarasyuk                 c ,iity
                        UNLIMITED CIVIL CASE

                                                                                    CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.   21STCV45978

                          THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE                DEPT     ROOM ,                  ASSIGNED JUDGE                          DEPT          ROOM
   V     Stephanie M. Bowick                19




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 12/17/2021                                                        By Y. Tarasyuk                                            , Deputy Clerk
              (Date)
LACIV 190(Rev 6/18)        NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
   Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 24 of 51 Page ID #:36

                                  INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answcr is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly_assigned_to_a_complex_judge_at_the_designated_complex_co.urtho.use._ILthe_case_is_found_notto_be_complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190(Rev 6/18)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 25 of 51 Page ID #:37


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   1                                                                              County of Los Angeles

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   5
                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
  6
                                     FOR THE COUNTY OF LOS ANGELES
  7
  8    IN RE LOS ANGELES SUPERIOR COURT) FIRST AMENDED GENERAL ORDER
       — MANDATORY ELECTRONIC FILING )
  9    FOR CIVIL
  10
  11
  12          On December 3, 2018,the Los Angeles County Superior Court mandated electronic filing of all
  13   documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los
  14   Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
  15   Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
  16   All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the
  17   following:
  18   1) DEFINITIONS
  19      a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to
 20           quickly locate and navigate to a designated point of interest within a document.
 21       b) "Efiling Portal" The official court website includes a webpage, referred to as the efiling
 22           portal, that gives litigants access to the approved Electronic Filing Service Providers.
 23       c) "Electronic Envelope" A transaction through the electronic service provider for submission
 24           of documents to the Court for processing which may contain one or more PDF documents
 25           attached.
 26       d) "Electronic Filing" Electronic Filing (eFiling)is the electronic transmission to a Court of a
 27           document in electronic form.(California Rules of Court, rule 2.250(b)(7).)
 28


                          FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 26 of 51 Page ID #:38


                                                                                               2019-GEN-014-00



   1    e) "Electronic Filing Service Provider" An Electronic Filing Service Provider(EFSP)is a
   2       person or entity that receives an electronic filing from a party for retransmission to the Court.
   3       In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
  4        agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
  5     0 "Electronic Signature" For purposes of these local rules and in conformity with Code of
  6        Civil Procedure section 17, subdivision (b)(3), section 34,and section 1010.6,subdivision
  7       (b)(2), Government Code section 68150,subdivision (g), and California Rules of Court, rule
  8        2.257, the term "Electronic Signature" is generally defined as an electronic sound,symbol, or
  9        process attached to or logically associated with an electronic record and executed or adopted
  10       by a person with the intent to sign the electronic record.
  11    g) "Hyperlink" An electronic link providing direct access from one distinctively marked place
  12       in a hypertext or hypermedia document to another in the same or different document.
  13    h)"Portable Document Format" A digital document format that preserves all fonts,
  14       formatting, colors and graphics of the original source document,regardless of the application
  15       platform used.
  16 2) MANDATORY ELECTRONIC FILING
  17    a) Trial Court Records
  18       Pursuant to Government Code section 68150, trial court records may be created, maintained,
  19       and preserved in electronic format. Any document that the Court receives electronically must
 20        be clerically processed and must satisfy all legal filing requirements in order to be filed as an
 21      • official court record (California Rules of Court,rules 2.100, et seq. and 2.253(b)(6)).
 22     b) Represented Litigants
 23        Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
 24        electronically file documents with the Court through an approved EFSP.
 25     c) Public Notice
 26        The Court has issued a Public Notice with effective dates the Court required parties to
 27        electronically file documents through one or more approved EFSPs. Public Notices containing
 28        effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.org.

                                                            2
                     FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 27 of 51 Page ID #:39


                                                                                                2019-GEN-014-00




  I       d) Documents in Related Cases
                                                                                                         type if
  2          Documents in related cases must be electronically filed in the eFiling portal for that case
                                                                                                       has
  3          electronic filing has been implemented in that case type, regardless of whether the case
  4          been related to a Civil case.
  5    3) EXEMPT LITIGANTS
  6       a) Pursuant to California Rules of Court,rule 2.253(b)(2), self-represented litigants are exempt
  7          from mandatory electronic filing requirements.
                                                                                                         of
  8       b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (dX3)and California Rules
  9          Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
  10         from filing documents electronically and be permitted to file documents by conventional
  11          means if the party shows undue hardship or significant prejudice.

  12 4) EXEMPT FILINGS
  13      a) The following documents shall not be filed electronically:
  14          i)    Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
  15                Civil Procedure sections 170.6 or 170.3;
  16          ii)   Bonds/Undertalcing documents;
  17          iii) Trial and Evidentiary Hearing Exhibits
  18          iv) Any ex parte application that is filed concurrently with knew complaint including those
  19              that will be handled by a Writs and Receivers department in the Mosk courthouse; and

  20          v) Documents submitted conditionally under seal. The actual motion or application shall be
  21                electronically filed. A courtesy copy of the electronically filed motion or application to

  22                submit documents conditionally under seal must be provided with the documents

  23                submitted conditionally under seal.

  24      b) Lodgments
                                                                                                      in
  25          Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally
  26   paper form. The actual document entitled,"Notice of Lodgment," shall be filed electronically.
  27 //

  28 //
                                                          3
                                                                                    FOR CIVIL
                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING
Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 28 of 51 Page ID #:40


                                                                                                2019-GEN-014-00




  1    5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES
  2      Electronic filing service providers must obtain and manage registration information for persons
  3      and entities electronically filing with the court.
  4 6) TECHNICAL REQUIREMENTS
  5      a) Electronic documents must be electronically filed in PDF,text searchable format when
  6          technologically feasible without impairment of the document's image.
  7      b) The table of contents for any filing must be boolcmarked.
  8      c) Electronic documents,including but not limited to, declarations, proofs of service, and
  9          exhibits, must be bookrnarked within the document pursuant to California Rules of Court, rule
  10         3.1110(0(4). Electronic bookmarks must include links to the first page of each bookmarked
  11         item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
  12         bookedmarked item and briefly describe the item.
  13     d) Attachments to primary documents must be boolcmarked. Examples include, but are not
  14         limited to, the following:
  15         i)    Depositions;
  16         ii)   Declarations;
  17         iii) Exhibits(including exhibits to declarations);
  18         iv) Transcripts(including excerpts within transcripts);
  19         v)    Points and Authorities;
  20         vi) Citations; and
  21         vii) Supporting Briefs.
  22      e) Use of hyperlinks within documents(including attachments and exhibits) is strongly
  23         encouraged.

  24      f) Accompanying Documents
  25         Each document acompanying a single pleading must be electronically filed as a separate
  26          digital PDF document.

  27      g) Multiple Documents

  28          Multiple documents relating to one case can be uploaded in one envelope transaction.
                                                          4
                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 29 of 51 Page ID #:41


                                                                                                 2019-GEN-014-00



   1      h) Writs and Abstracts
   2         Writs and Abstracts must be submitted as a separate electronic envelope.
  3      i) Sealed Documents
  4          If and when a judicial officer orders documents to be filed under seal, those documents must be
  5          filed electronically (unless exempted under paragraph 4); the burden of accurately designating
  6          the documents as sealed at the time of electronic submission is the submitting party's
  7          responsibility.
  8      j) Redaction
  9          Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
  10         redact confidential information(such as using initials for names of minors, using the last four
  11         digits of a social security number, and using the year for date of birth)so that the information
  12         shall not be publicly displayed.
  13   7) ELECTRONIC FILING SCHEDULE
  14     a) Filed Date
  15         i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
  16            shall be deemed to have been effectively filed on that court day if accepted for filing. Any
  17            document received electronically on a non-court day, is deemed to have been effectively
  18            filed on the next court day if accepted. (California Rules of Court,rule 2.253(b)(6); Code
  19            Civ. Proc.§ 1010.6(b)(3).)
 20          ii) Notwithstanding any other provision of this order,if a digital document is not filed in due
 21             course because of: (1) an interruption in service;(2)a transmission error that is not the
 22             fault of the transmitter; or(3)a processing failure that occurs after receipt, the Court may
 23             order, either on its own motion or by noticed motion submitted with a declaration for Court
 24             consideration, that the document be deemed filed and/or that the document's filing date
 25             conform to the attempted transmission date.
 26    8) EX PARTE APPLICATIONS
 27      a) Ex parte applications and all documents in support thereof must be electronically filed no later
 28         than 10:00 a.m. the court day before'the ex parte hearing.

                                                             5
                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 30 of 51 Page ID #:42


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         b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
   2         day of the ex pane hearing. A printed courtesy copy of any opposition to an ex parte
   3         application must be provided to the court the day of the ex parte hearing.
  4    9) PRINTED COURTESY COPIES
  5      a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
  6          be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
  7          the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
  8          by 10:00 a.m. the next business day.
  9      b) Regardless of the time of electronic filing, a printed courtesy copy(along with proof of
  10         electronic submission) is required for the following documents:
  11         i)   Any printed document required pursuant to a Standing or General Order;
  12        ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
  13              pages or more;
  14              Pleadings and motions that include points and authorities;
  15        iv)   Demurrers;
  16        v)    And-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
  17        vi)   Motions for Summary Judgment/Adjudication; and
  18       vii)   Motions to Compel Further Discovery.
  19     c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
 20         additional documents. Courtroom specific courtesy copy guidelines can be found at
 21         www.lacourt.org on the Civil webpage under "Courtroom Information."
 22    0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
 23      a) Fees and costs associated with electronic filing must be waived for any litigant who has
 24         received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc.§
 25         1010.6(d)(2).)
 26      b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
 27         section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(0, may be
 28         electronically filed in any authorized action or proceeding.

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                      FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 31 of 51 Page ID #:43


                                                                                                 2019-GEN-014-00




       1)SIGNATURES ON ELECTRONIC FILING
                                                                                             with California
  2       For purposes of this General Order, all electronic filings must be in compliance
                                                                                           the Civil
  3       Rules of Court, rule 2.257. This General Order applies to documents filed within
  4       Division of the Los Angeles County Superior Court.
  5
                                                                                             electronic filing,
  6            This First Amended General Order supersedes any previous order related to
                                                                                        by the Civil
  7    and is effective immediately, and is to remain in effect until otherwise ordered
  8    Supervising Judge and/or Presiding Judge.
  9
 10 DATED: May 3,2019
  11
 12
  13
                                                             KEVIN C.BRAME
                                                             Presiding Judge             &17th
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                                                                                              FOR CIVIL
                          FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING
Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 32 of 51 Page ID #:44




                                     VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                       The Early Organizational Meeting Stipulation, Discovery
                                     Resolution Stipulation, and Motions in Limine Stipulation are
    Superior COUR of California      voluntary stipulations entered into by the parties. The parties
    County of Los Angeles
                                     may enter into one, two, or all three of the stipulations;
                                     however, they may not alter the stipulations as written,
      LACBA                          because the Court wants to ensure uniformity of application.
    Los Angeles County
    Bar Association                  These stipulations are meant to encourage cooperation
    Litigation Section

    Los Angeles County
                                     between the parties and to assist in resolving issues in a
    Bar Association Labor and
    Employment Law Section           manner that promotes economic case resolution and judicial
                                     efficiency.
                    riTrcti:31i
                    of !0: Antel:t
                                        The following organizations endorse the goal of
    Consumer Attorneys
    Association of Los Angeles       promoting efficiency in litigation and ask that counsel
                                     consider using these stipulations as a voluntary way to
                                     promote communications and procedures among counsel
                                     and with the court to fairly resolve issues in their cases.
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                                     +Los Angeles County Bar Association Litigation Section+
    Southern California
    Defense Counsel
                                              •Los Angeles County Bar Association

     minem1131.01       MK 1.....1
                                              Labor and Employment Law Section*
                     ---a


    Association of
    Business Trial Lawyers               *Consumer Attorneys Association of Los Angeles+


                                              *Southern California Defense Counsel+


                                             *Association of Business Trial Lawyers*
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    California Employment
    Lawyers Association                   +California Employment Lawyers Association+


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Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 33 of 51 Page ID #:45




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            TELEPHONE NO.:                                  FAX NO.(Optional):
   E-MAIL ADDRESS(Optional):
      ATTORNEY FOR (Name):
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:

  PLAINTIFF:


  DEFENDANT:

                                                                                           CASE NUMBER:
            STIPULATION — EARLY ORGANIZATIONAL MEETING

        This stipulation is intended to encourage cooperation among the parties at an early stage in
        the litigation and to assist the parties In efficient case resolution.
        The parties agree that:
        1. The parties commit to conduct an initial conference (in-person or via teleconference or via
           videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
           whether there can be agreement on the following:
             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?
             b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered "core? In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                "core?);
             c. Exchange of names and contact information of witnesses;
             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;
             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;
            f. Controlling -issues_of_law_that,A resolved early, will promote efficiency and economy in other
               phases of the case. Also, when and how such issues can be presented to the Court;
             g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                and whether the parties wish to use a sitting judge or a private mediator or other options as
       LACIV 229(Rev 02/15)
       LASC Approved 04/11              STIPULATION — EARLY ORGANIZATIONAL MEETING
       For OptlonaI Use                                                                                              Page 1 012
Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 34 of 51 Page ID #:46



     SNORT MS:                                                                  CASE NUMBER:




             discussed in the "Alternative Dispute Resolution (ADR)Information Package" served with the
             complaint;

          h. Computation of damages, including documents, not privileged or protected from disclosure, on
             which such computation is based;

          i. Whether the case is suitable for the Expedited Jury Trial procedures (see information at
             www.lacourtorci under 'Civil" and then under "General information").

     2.      The time for a defending party to respond to a complaint or cross-complaint will be extended
             to                         for the complaint, and                             for the cross-
                       (INSERT DATE)                                      (INSERT DATE)
             complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
             and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
             been found by the Civil Supervising Judge due to the case management benefits provided by
             this Stipulation. A copy of the General Order can be found at www.lacourtorti under "Civil",
             click on "General information", then click on "Voluntary Efficient Litigation Stipulations".

     3.      The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
             and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
             results of their meet and confer and advising the Court of any way it may assist the parties'
             efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
             the Case Management Conference statement, and file the documents when the CMC
             statement is due.

    4.       References to "days" mean calendar days, unless otherwise noted. If the date for performing
             any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
             for performing that act shall be extended to the next Court day

     The following parties stipulate:
     Date:

                 (TYPE OR PRINT NAME)                                     (ATTORNEY FOR PLAINTIFF)
     Date:

                 (TYPE OR PRINT NAME)                                    (ATTORNEY FOR DEFENDANT)
    Date:

                 (TYPE OR PRINT NAME)                                    (ATTORNEY FOR DEFENDANT)
    Date:

                 (TYPE OR PRINT NAME)                                    (ATTORNEY FOR DEFENDANT)
    Date:

                 (TYPE OR PRINT NAME)                              (ATTORNEY FOR
    Date:

                 (TYPE OR PRINT NAME)                              (ATTORNEY FOR
    Date:

                 (TYPE OR PRINT NAME)                              (ATTORNEY FOR


    LACIV 229(Rev 02/15)
    LASC Approved 04/11    STIPULATION - EARLY ORGANIZATIONAL MEETING                                 Page 2 of 2
Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 35 of 51 Page ID #:47




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          TELEPHONE NO.:                                   FAX NO.(Optional):
  EMAIL ADDRESS(Optional):
    ATTORNEY FOR(Name):
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:

  PLAINTIFF:

  DEFENDANT:

                                                                                          CASE NUMBER:
                      STIPULATION — DISCOVERY RESOLUTION

        This stipulation is intended to provide a fast and informal resolution of discovery issues
        through limited paperwork and an informal conference with the Court to aid in the
        resolution of the issues.

        The parties agree that:

        1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
           the moving party first makes a written request for an Informal Discovery Conference pursuant
           to the terms of this stipulation.

       2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
          and determine whether it can be resolved informally. Nothing set forth herein will preclude a
          party from making a record at the conclusion of an Informal Discovery Conference, either
          orally or in writing.

       3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
          presented, a party may request an Informal Discovery Conference pursuant to the following
          procedures:

                   a. The party requesting the Informal Discovery Conference will:

                       i.     File a Request for Informal Discovery Conference with the clerk's office on the
                              approved form (copy attached) and deliver a courtesy, conformed copy to the
                              assigned department;

                              Include a brief summary of the dispute and specify the relief requested; and

                     iii.     Serve the opposing party pursuant to any authorized or agreed method of service
                              that ensures that the opposing party receives the Request for Informal Discovery
                              Conference no later than the next court day following the filing.

                   b. Any Answer to a Request for Informal Discovery Conference must:

                      i.      Also be filed on the approved form (copy attached);

                     ii.      Include a brief summary of why the requested relief should be denied;
      LACIV 036(new)
      LASC Approved 04/11                      STIPULATION — DISCOVERY RESOLUTION
      For Optional Use                                                                                              Page 1 of 3
Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 36 of 51 Page ID #:48



     SHORT TITLE.                                                                  CASE HUMBER.




                    iii.   Be filed within two (2)court days of receipt of the Request; and

                    iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                           method of service that ensures that the opposing party receives the Answer no
                           later than the next court day following the filing.

          c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
             be accepted.

          d. If the Court has not granted or denied the Request for Informal Discovery Conference
             within ten (10) days following the filing of the Request, then it shall be deemed to have
             been denied. If the Court acts on the Request, the parties will be notified whether the
             Request for Informal Discovery Conference has been granted or denied and, if granted,
             the date and time of the Informal Discovery Conference, which must be within twenty (20)
             days of the filing of the Request for Informal Discovery Conference.

          e. If the conference is not held within twenty (20) days of the filing of the Request for
             Informal Discovery Conference, unless extended by agreement of the parties and the
             Court, then the Request for the Informal Discovery Conference shall be deemed to have
             been denied at that time.

    4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
       without the Court having acted or (c)the Informal Discovery Conference is concluded without
       resolving the dispute, then a party may file a discovery motion to address unresolved issues.

    5. The parties hereby further agree that the time for making a motion to compel or other
       discovery motion is tolled from the date of filing of the Request for Informal Discovery
       Conference until (a)the request is denied or deemed denied or(b) twenty (20) days after the
       filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
       by Order of the Court.

         It is the understanding and intent of the parties that this stipulation shall, for each discovery
         dispute to which it applies, constitute a writing memorializing a "specific later date to which
         the propounding [or demanding or requesting] party and the responding party have agreed in
         writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
         2033.290(c).

    6. Nothing herein will preclude any party from applying ex pane for appropriate relief, including
       an order shortening time for a motion to be heard concerning discovery.

    7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
       terminate the stipulation.

    8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
       any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
       for performing that act shall be extended to the next Court day.



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    LASC Approved 04/11             STIPULATION — DISCOVERY RESOLUTION
    For Optional Use                                                                              Page 2 of3
Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 37 of 51 Page ID #:49



     SHORT TITLE:                                                    CASE HUSIBER:




     The following parties stipulate:

     Date:
                    (TYPE OR PRINT NAME)                          (ATTORNEY FOR PLAINTIFF)
     Date:
                    (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
     Date:
                    (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
     Date:
                    (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
     Date:
                    (TYPE OR PRINT NAME)                  (ATTORNEY FOR                            )
     Date:
                    (TYPE OR PRINT NAME)                  (ATTORNEY FOR                            )
     Date:
                    (TYPE OR PRINT NAME)                  (ATTORNEY FOR                            )




    LACIV 036(new)
    LASC Approved 04/11           STIPULATION — DISCOVERY RESOLUTION
    For OpUonal Use                                                                          Page 3 of 3
Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 38 of 51 Page ID #:50




  HAVE AND AOORES5 OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                BTATE BAR NUMBER                    Reserved BA Poles Fie Stamp




            TELEPHONE NO.:                                  FAX NO.(Optional):
   E-MAIL ADDRESS(Optional):
      ATTORNEY FOR (Name):
  SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:

  PLAINTIFF:

  DEFENDANT:

                                                                                                    CASE NUMBER:
                      INFORMAL DISCOVERY CONFERENCE
                (pursuant to the Discovery Resolution Stipulation of the parties)
        1. This document relates to:
              0       Request for Informal Discovery Conference
              0       Answer to Request for Informal Discovery Conference
        2. Deadline for Court to decide on Request:                    (Insert dale 10 calendar days following filing of
               the Request).
        3. Deadline for Court to hold Informal Discovery Conference:                                           (Insert date 20 calendar
             days following filing of the Request).
       4. For a Request for Informal Discovery Conference, briefly describe the nature of the
          discovery dispute, including the facts and legal arguments at issue. For an Answer to
          Request for Informal Discovery Conference, briefly describe why the Court should deny
          the requested discovery, Including the facts and legal arguments at Issue.




       LACIV 094(new)                         INFORMAL DISCOVERY CONFERENCE
       LASC Approved 04/11
       For Optional Use                 (pursuant to the Discovery Resolution Stipulation of the parties)
Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 39 of 51 Page ID #:51




  NAME AND AMR ESS Of ATTORNEY OA PARTY WITHOUT ATTORNEY:                STATE EAR NUMBER            Roterve4 tot Par.ilk Stamp




           TELEPHONE NO.:                                   FAX NO.(Optional):
  E•MAIL ADDRESS (Optlonai):
     ATTORNEY FOR(Name):
  SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:

  PLAINTIFF:

  DEFENDANT:

                                                                                            CASE NUMBER:

               STIPULATION AND ORDER — MOTIONS IN LIMINE


        This stipulation is intended to provide fast and informal resolution of evidentiary
        issues through diligent efforts to define and discuss such issues and limit paperwork.


        The parties agree that:
        1. At least       days before the final status conference, each party will provide all other
           parties with a list containing a one paragraph explanation of each proposed motion in
           limine. Each one paragraph explanation must identify the substance of a single proposed
           motion in limine and the grounds for the proposed motion.

       2. The parties thereafter will meet and confer, either in person or via teleconference or
          videoconference, concerning all proposed motions in limine. In that meet and confer, the
          parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side's portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties' respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

       3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
          a-short-joint statement of issues will-be-briefed and-filed-in-accordance-with-the-California
          Rules of Court and the Los Angeles Superior Court Rules.



       LACIV 075(new)
       LASC Approved 04/11              STIPULATION AND ORDER — MOTIONS IN LIMINE
       For Optional Use                                                                                                Page 1 of 2
Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 40 of 51 Page ID #:52



     SHORT TITLE                                                CASE M.11113Eit




     The following parties stipulate:
     Date:

                   (TYPE OR PRINT NAME)                     (ATTORNEY FOR PLAINTIFF)
     Date:

                   (TYPE OR PRINT NAME)                    (ATTORNEY FOR DEFENDANT)
     Date:

                   (TYPE OR PRINT NAME)                    (ATTORNEY FOR DEFENDANT)
     Date:

                   (TYPE OR PRINT NAME)                    (ATTORNEY FOR DEFENDANT)
     Date:

                   (TYPE OR PRINT NAME)                (ATTORNEY FOR
     Date:

                   (TYPE OR PRINT NAME)                (ATTORNEY FOR
     Date:

                   (TYPE OR PRINT NAME)               (ATTORNEY FOR



     THE COURT SO ORDERS.

      Date:
                                                                JUDICIAL OFFICER




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    LASC Approved 04/11     STIPULATION AND ORDER — MOTIONS IN UMINE               Page 2 of 2
       Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 41 of 51 Page ID #:53




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              5
                                                                                 BY N   C     AVARRO, DEPUTY

              6

              7                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
              a                           FOR THE COUNTY OF LOS ANGELES
              9
                  General Order Re                          )    ORDER PURSUANT TO CCP 1054(a),
             10
                  Use of Voluntary Efficient Litigation     )    EXTENDING TIME TO RESPOND BY
             II   Stipulations                              )    30 DAYS WHEN PARTIES AGREE
                                                            )    TO EARLY ORGANIZATIONAL
             12                                             )    MEETING STIPULATION
             13

             14
                         Whereas the Los Angeles Superior Court and the Executive Committee of the
             15
                  Litigation Section of the Los Angeles County Bar Association have cooperated in
             16

             17
                  drafting "Voluntary Efficient Litigation Stipulations" and in proposing the stipulations for

             18   use in general jurisdiction civil litigation in Los Angeles County;
             19          Whereas the Los Angeles County Bar Association Litigation Section; the Los
             20
                  Angeles County Bar Association Labor and Employment Law Section; the Consumer
             21
                  Attorneys Association of Los Angeles; the Association of Southern California Defense
             22

             23   Counsel; the Association of Business Trial Lawyers of Los Angeles; and the California

             24   Employment Lawyers Association all "endorse the goal of promoting efficiency in
             25
                  litigation, and ask that counsel consider using these stipulations as a voluntary way to
             26
- --------        promote communications and-procedures among counsel and with•the- court to fairly
             27
                  resolve issues in their cases;"
             28

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                                            ORDER PURSUANT TO CCP 1054(a)
     Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 42 of 51 Page ID #:54



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                    Whereas the Early Organizational Meeting Stipulation Is intended to encourage
         1

         2   cooperation among the parties at an early stage in litigation in order to achieve
         3   litigation efficiencies;
         4
                    Whereas it Is intended that use of the Early Organizational Meeting Stipulation
         5
             will promote economic case resolution and judicial efficiency;
         6

         7
                    Whereas, in order to promote a meaningful discussion of pleading issues at the

         8   Early Organizational Meeting and potentially to reduce the need for motions to
         9   challenge the pleadings, it is necessary to allow additional time to conduct the Early
        lo
             Organizational Meeting before the time to respond to a complaint or cross complaint
        II
             has expired;
        12

        13          Whereas Code of Civil Procedure section 1054(a) allows a judge of the court in

        14   which an action is pending to extend for not more than 30 days the time to respond to
        15
             a pleading "upon good cause shown"; ,
        16
                    Now,therefore, this Court hereby finds that there Is good cause to extend for 30
        17
             days the time to respond to a complaint or to a cross complaint in any action in which
        18

        19   the parties have entered into the Early Organizational Meeting Stipulation. This finding
        20   of good cause is based on the anticipated judicial efficiency and benefits of economic
        21
             case resolution that the Early Organizational Meeting Stipulation is intended to
        22
             promote.
        23
                    IT IS HEREBY ORDERED that, in any case In which the parties have entered
        24

        25   into an Early Organizational Meeting Stipulation, the time for a defending party to
        26   respond to a complaint or cross complaint shall be extended by the 30 days permitted
        27

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                                                        -2-

                                        ORDER PURSUANT TO CCP 1054(a)
Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 43 of 51 Page ID #:55




        by Code of Civil Procedure section 1054(a) without further need of a specific court
    1

   2    order.
   3

   4
        DATED: /61
   5                                             Carolyn B. Ku Supervising Judge ofthe
                                                 Civil Departments, Los Angeles Superior Court
   6

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                                  ORDER PURSUANT TO CCP 1054(a)
Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 44 of 51 Page ID #:56



                     Superior Court of California, County of Los Angeles


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 What is ADR?
 ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
 mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
 be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

 Advantages of ADR
    • Saves Time: ADR is faster than going to trial.
    • Saves Money:Parties can save on court costs, attorney's fees, and witness fees.
    • Keeps Control(with the parties): Parties choose their ADR process and provider for voluntary ADR.
    • Reduces Stress/Protects Privacy: ADR is done outside the courtroom,in private offices, by phone or online.

 Disadvantages of ADR
    • Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
    • No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

 Main Types of ADR
    1. Negotiation: Parties often talk with each other in person,or by phone or online about resolving their case with a
       settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
       strengths and weaknesses of their case, and works with them to try to create a settlement agreement that Is
       acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                 Mediation may be appropriate when the parties
                   • want to work out a solution but need help from a neutral person.
                   • have communication problems or strong emotions that interfere with resolution.
                 Mediation may not be appropriate when the parties
                   • want a public trial and want a judge or jury to decide the outcome.
                   • lack equal bargaining power or have a history of physical/emotional abuse.



    LASC CIV 271 Rev.04/21
    For Mandatory Use
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                                    How to Arrange Mediation in Los Angeles County

         Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

             a. The Civil Mediation Vendor Resource list
                If all parties in an active civil case agree to mediation, they may contact these organizations
                to request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
                cases).

                     • ADR Services,Inc.Case Manager Elizabeth Sanchez,elizabeth@adrservices.com
                       (949)863-9800
                     • JAMS,Inc. Assistant Manager Reggie Joseph, RJoseph@jamsadr.com (310)309-6209
                     • Mediation Center of Los Angeles Program Manager info@ mediationLA.org
                       (833)476-9145

        These organizations cannot accept every case and they may decline cases at their discretion. They may
        offer online mediation by video conference for cases they accept. Before contacting these organizations,
        review important information and FAas at www.lacourt.ore/ADR.Res.List

        NOTE:The Civil Mediation Vendor Resource List program does not accept family law, probate or small
        claims cases.

             b. Los Angeles County Dispute Resolution Programs
                 https://hrc.lacounty.goviwp-content/uploads/2020/05/DRP-Fact-Sheet.230ctober19-Current-as-of-October-2019-1.pdf

                 Day of trial mediation programs have been paused until further notice.

                Online Dispute Resolution(ODR). Parties in small claims and unlawful detainer(eviction) cases
                should carefully review the Notice and other information they may receive about(OD R)
                requirements for their case.

            c. Mediators and ADR and Bar organizationsthat provide mediation may be found on the internet.

        3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
        arguments to the person who decides the outcome. In "binding" arbitration,the arbitrator's
        decision is final; there is no right to trial. In "nonbinding" arbitration,any party can request a
        trial after the arbitrator's decision. For more information about arbitration,visit
        http://www.courts.ca.gov/programs-adr.htm

        4. Mandatory SettlementConferences(MSC): MSCs are ordered by the Court and are often held close
        to the trial date or on the day of trial. The parties and their attorneys meet with a Judge or settlement
        officer who does not make a decision but who instead assists the parties in evaluating the strengths and
        weaknesses of the case and in negotiating a settlement. For information about the Court's MSC
        programs for civil cases, visit http://www.lacourt.orddivisionicivil/C10047.aspx

        Los Angeles Superior Court ADR website: http://www.lacourtorgidivisionicivil/C10109.aspx
        For general information and videos about ADR,visit http://www.courts.ca.gov/programs-adr.htm


  tASC CIV 271 Rev.04/21
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               Case    2:22-cv-00419-ODW-JEM
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                                     County of Los Angeles on 12/16/2021 10:10 AM Sherri R. Carter, Executive Officer/ClerIc of Court, by Y. Tarasyuk,Dcputy Clerk
                                  Court       California,
                                                                                  21STCV45978
                                                                                                                                                                            CM-010
            ATTORNEY OR PARTY WTHOUT ATTORNEY(Name, State Bar number, and address):                                                         FOR COURT USE ONLY
          — Roger Kirnos(SBN 283163)/IVIaite C. Colon(SBN 322284)
            Knight Law Group LLP
            10250 Constellation Blvd., Suite 2500, Los Angeles, CA 90067
              TELEPHONE NO.: (3 1 0)552-2250          FAX NO.: (310)552-7973
            ATTORNEY FOR (Name):             ESMERALDA RAMIREZ and GUSTAVO ORTIZ HERNANDEZ aka GUSTAVO ORTIZ
          SUPERIOR COURT OF CALIFORNIA, COUNTY OF             Los Angeles
                 STREET ADDRESS:         1 11 North Hill Street
                 MAILING ADDRESS:        1 1 l North Hill Street
                CITY AND ZIP CODE:       Los Angeles, CA 90012
                       BRANCH NAME:      Stanley Mosk Courthouse
               CASE NAME: ESMERALDA RAMIREZ and GUSTAVO ORTIZ HERNANDEZ aka GUSTAVO ORTIZ
                               v. FCA US LLC, a Delaware Limited Liability Company et al.
                                                                                                                           CASE NUMBER:
                 CIVIL CASE COVER SHEET                                     Complex Case Designation
               X Unlimited           Limited
                                                                                     Joinder
                                                                                                    21STCV45970
                  (Amount           (Amount                      Counter
                                                                                                   JUDGE:
                  demanded           demanded is          Filed with first appearance by defendant
                  exceeds $25,000)  $25,000 or less)          (Cal. Rules of Court, rule 3.402)     DEPT:

                                        Items 1-6 below must be completed (see instructions on page 2).
          1. Check one box below for the case type that best describes this case:
                Auto Tort                                            Contract                              Provisionally Complex Civil Litigation
                        Auto (22)                                    1=I Breach of contract/warranty (06) (Cal. Rules of Court, rules 3.400-3.403)
                        Uninsured motorist(46)                             Rule 3.740 collections (09)           Antitrust/Trade regulation (03)
               Other Pl/PD/WD (Personal Injury/Property                     Other collections (09)                        Construction defect(10)
               Damage/Wrongful Death) Tort                                  Insurance coverage (18)                       Mass tort (40)
                        Asbestos (04)                                      Other contract(37)                             Securities litigation (28)
               -
               I 1 Product liability (24)                            Real Property                                        Environmental/Toxic tort(30)
               -
               I I Medical malpractice (45)                                Eminent domain/Inverse                         Insurance coverage claims arising from the
                     Other PI/PD/WD (23)                                   condemnation (14)                              above listed provisionally complex case
                                                                           Wrongful eviction (33)                         types (41)
                Non-Pl/PDNVD (Other) Tort
                                                                                                                    Enforcement of Judgment
                        Business tort/unfair business practice (07) n Other real property (26)
                        Civil rights (08)                           Unlawful Detainer                                     Enforcement of judgment(20)
                        Defamation (13)                              -
                                                                     I1   Commercial (31)                           Miscellaneous Civil Complaint
                        Fraud (16)                                   LIII   Residential (32)                              RICO (27)
                        Intellectual property (19)                   1=     Drugs(38)                                     Other complaint (not specified above)(42)
                        Professional negligence (25)                 Judicial Review                                Miscellaneous Civil Petition
                     Other non-PUPDA/VD tort(35)                            Asset forfeiture (05)                  -
                                                                                                                   1 1 Partnership and corporate governance(21)
                Employment                                          -
                                                                    I 1     Petition re: arbitration award (11)
                                                                                                                          Other petition (not specified above)(43)
                     Wrongful termination (36)                              Writ of mandate (02)
                        Other employment(15)                                Other judicial review (39)
          2. This case I      I is    LXI is not     complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
             factors requiring exceptional judicial management:
             a.= Large number of separately represented parties            d.       Large number of witnesses
               = Extensive motion practice raising difficult or novel      e.       Coordination with related actions pending in one or more courts
                      issues that will be time-consuming to resolve                 in other counties, states, or countries, or in a federal court
             c.       Substantial amount of documentary evidence           f.       Substantial postjudgment judicial supervision

          3.    Remedies sought(check all that apply): a. X monetary b.               nonmonetary; declaratory or injunctive relief                             C.         punitive
          4.    Number of causes of action (specify): 3
          5.    This case         is     X is not a class action suit.
          6.    If there are any known related cases, file and serve a notice of related case.(You may use form CM-015.)
          Date: 12/16/2021
          M-aite C. Colon
                                             (TYPE OR PRINT NAME)                                                 (SIGNATURE OF PARTY OR ATTORNEY;FOR PARTY)
                                                                                       NOTICE
            • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
              under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule.3.220.) Failure to file may result
              in sanctions.
            • File this cover sheet in addition to any cover sheet required by local court rule.
            • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
              other parties to the action or proceeding.
            • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                             Page 1 of 2
          Form Adopted for Mandatory Use                                                                                      Cal. Rules of Court, rules 2.30. 3.220, 3.400-3.403, 3.740;
            Judicial Council of California
                                                                     CIVIL CASE COVER SHEET                                           Cal. Standards of Judicial Administration, std. 3.10
            CM-010[Rev. July 1, 2007)                                                                                                                               www.coutlinfo.ca.gov
   Case 2:22-cv-00419-ODW-JEM Document 1-1 Filed 01/20/22 Page 47 of 51 Page ID #:59

                                                                                                                                     CM-010
                                   I NSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Caso Cover Shoot contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover shoot with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections C3E0E. A "collections case" under rule 3.740 is defined as an action for recovery of monoy
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                       Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)—Personal Injury/Property             Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                          Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
     Uninsured Motorist(46)(if the                           Contract (not unlawful detainer            Construction Defect(10)
          case involves an uninsured                             or wrongful eviction)                  Claims Involving Mass Tort(40)
          motorist claim subject to                     Contract/Warranty Breach—Seller                 Securities Litigation (28)
          arbitration, check this item                       Plaintiff (not fraud or negligence)        Environmental/Toxic Tort(30)
          instead of Auto)                               Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                             Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                         Other Breach of Contract/Warranty                    case type listed above)(41)
Tort                                                Collections (e.g., money owed, open              Enforcement of Judgment
     Asbestos (04)                                       book accounts)(09)                             Enforcement of Judgment(20)
          Asbestos Property Damage                      Collection Case—Seller Plaintiff                     Abstract of Judgment(Out of
                                                        Other Promissory Note/Collections                         County)
          Asbestos Personal Injury/
               Wrongful Death                                Case                                            Confession of Judgment(non-
                                                    Insurance Coverage (not provisionally                         domestic relations)
     Product Liability (not asbestos or
          toxic/environmental)(24)                      complex)(18)                                         Sister State Judgment
     Medical Malpractice (45)                           Auto Subrogation                                     Administrative Agency Award
          Medical Malpractice—                          Other Coverage                                         (not unpaid taxes)
                Physicians & Surgeons               Other Contract(37)                                       Petition/Certification of Entry of
          Other Professional Health Care                Contractual Fraud                                        Judgment on Unpaid Taxes
                Malpractice                             Other Contract Dispute                               Other Enforcement of Judgment
                                                Real Property                                                     Case
    Other Pl/PD/VVD (23)
                                                    Eminent Domain/Inverse                           Miscellaneous Civil Complaint
          Premises Liability (e.g., slip
                                                        Condemnation (14)                                RICO (27)
               and fall)
          Intentional Bodily lnjury/PD/WD           Wrongful Eviction (33)                              Other Complaint (not specified
                                                                                                             above)(42)
               (e.g., assault, vandalism)           Other Real Property (e.g., quiet title)(26)
                                                                                                             Declaratory Relief Only
          Intentional Infliction of                     Writ of Possession of Real Property                  Injunctive Relief Only (non-
                Emotional Distress                      Mortgage Foreclosure                                      harassment)
          Negligent Infliction of                       Quiet Title
                                                                                                             Mechanics Lien
               Emotional Distress                       Other Real Property (not eminent
                                                                                                             Other Commercial Complaint
          Other PI/PD/WD                                domain, landlord/tenant, or
                                                                                                                  Case (non-tort/non-complex)
Non-PI/PDNVD (Other) Tort                               foreclosure)
                                                                                                             Other Civil Complaint
     Business Tort/Unfair Business              U nlawful Detainer                                              (non-tort/non-complex)
         Practice (07)                              Commercial (31)                                  Miscellaneous Civil Petition
    Civil Rights (e.g., discrimination,             Residential (32)                                    Partnership and Corporate
         false arrest)(not civil                    Drugs (38)(if the case involves illegal                  Governance (21)
          harassment)(08)                               drugs, check this item; otherwise,              Other Petition (not specified
     Defamation (e.g., slander, libel)                  report as Commercial or Residential)                 above)(43)
          (13)                                  Judicial Review                                              Civil Harassment
     Fraud (16)                                     Asset Forfeiture (05)                                    Workplace Violence
     Intellectual Property (19)                     Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
    Professional Negligence (25)                    Writ of Mandate (02)                                          Abuse
         Legal Malpractice                              Writ—Administrative Mandamus                         Election Contest
         Other Professional Malpractice                 Writ—Mandamus on Limited Court                       Petition for Name Change
            (not medical or legal)                          Case Matter                                      Petition for Relief From Late
      Other Non-PUPD/WD Tort (35)                       Writ—Other Limited Court Case                             Claim
Employment                                                  Review                                           Other Civil Petition
     Wrongful Termination (36)                      Other Judicial Review (39)
    Other Employment(15)                                Review of Health Officer Order
                                                        Notice of Appeal—Labor
                                                            Commissioner Appeals
CM-010[Rev. July 1.20071                                                                                                               Page 2 of 2
                                                    CIVIL CASE COVER SHEET
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SHORT TITLE:                                                                                       CASE NUMBER
               RAMIREZ, et al. v. FCA US LLC, et al.                                                              21 S"T" CV 45978

                           CIVIL CASE COVER SHEET ADDENDUM AND
                                   STATEMENT OF LOCATION
            (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
         This form is required pursuant to Local Rule 2.0 in all new civil case filings in the Los Angeles Superior Court.

 Item I. Check the types of hearing and fill in the estimated length of hearing expected for this case:
   JURY TRIAL? 0 YES              CLASS ACTION? [I] YES LIMITED CASE? n YES                     TIME ESTIMATED FOR TRIAL 5             0 HOURS/ El DAYS

 Item II. Indicate the correct district and courthouse location (4 steps — If you checked "Limited Case", skip to Item III, Pg. 4):


   Step 1: After first completing the Civil Case Cover Sheet form, find the main Civil Case Cover Sheet heading for your
   case in the left margin below, and, to the right in Column A, the Civil Case Cover Sheet case type you selected.


   Step 2: Check one Superior Court type of action in Column B below which best describes the nature of this case.

   Step 3: In Column C, circle the reason for the court location choice that applies to the type of action you have
   checked. For any exception to the court location, see Local Rule 2.0.

                          A pplicable Reasons for Choosing Courthouse Location (see Column C below)

    1.   Class actions must be filed in the Stanley Mosk Courthouse, central district.     6.   Location   of property or permanently garaged vehicle.
    2.   May be filed in central (other county, or no bodily injury/property damage).      7.   Location   where petitioner resides.
    3.   Location where cause of action arose.                                             8.   Location   wherein defendant/respondent functions wholly.
    4.   Location where bodily injury, death or damage occurred.                           9.   Location   where one or more of the Rates reside.
    5.   Location where performance required or defendant resides.                        10.   Location   of Labor Commissioner Office



   Step 4: Fill in the information requested on page 4 in Item III; complete Item IV. Sign the declaration.


                                                                                         B•                                                           C
                  Civil Case Cover Sheet                                           Type of Action                                        Applicable Reasons -
                     • . Category No.                                             (Check only one) ,                                      See Step 3 Abovo .

                          Auto (22)             0 A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death                   1., 2., 4.


                  Uninsured Motorist(46)        0 A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motorist              1., 2., 4.


                                                 CI A6070 Asbestos Property Damage                                                      2.
                       Asbestos (04)
                                                 El A7221 Asbestos - Personal Injury/Wrongful Death                                     2.


                    Product Liability (24)      0 A7260 Product Liability (not asbestos or toxic/environmental)                          1., 2., 3., 4., 8.

                                                0 A7210 Medical Malpractice - Physicians & Surgeons                                      1., 4.
                  Medical Malpractice (45)
                                                0 A7240 Other Professional Health Care Malpractice                                       1., 4.

                                                0 A7250 Premises Liability (e.g., slip and fall)
                                                                                                                                         1.,4.
                          Othre
                      Personal njury            0 A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                         1., 4.
                     Property Damage                    assault, vandalism, etc.)
                      Wrongful Death                                                                                                    1., 3.
                                                0 A7270 Intentional Infliction of Emotional Distress
                          (23)                                                                                                          1., 4.
                                                0 A7220 Other Personal Injury/Property Damage/Wrongful Death



 LACIV 109(Rev. 03/11)                        CIVIL CASE COVER SHEET ADDENDUM                                                        Local Rule 2.0
 LASC Approved 03-04                             AND STATEMENT OF LOCATION                                                              Page 1 of 4
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SHORT TITLE:                                                                                              CASE NUMBER
                         RAMIREZ, et al. v. FCA US LLC, et al.



                             Civil Case Cover Sheet                                       Type of Action                                    Applicable Reasons -
                                   Category No.                                          (Check only one)                                    See Step 3 Above

                               Business Tort(07)          0 A6029 Other Commercial/Business Tort (not fraud/breach of contract)             1., 3.

                                Civil Rights (08)         0 A6005 Civil Rights/Discrimination                                               1., 2., 3.


                                Defamation (13)           0 A6010 Defamation (slander/libel)                                                1., 2., 3.


                                   Fraud (16)             0 A6013 Fraud (no contract)                                                       1., 2., 3.


                                                          0 A6017 Legal Malpractice                                                         1., 2., 3.
                          Professional Negligence (25)
                                                          0 A6050 Other Professional Malpractice (not medical or legal)                     1., 2., 3.


                                   Other (35)             0 A6025 Other Non-Personal Injury/Property Damage tort                           2.,3.


                           Wrongful Termination (36)      0 A6037 Wrongful Termination                                                      1., 2., 3.

                                                          0 A6024 Other Employment Complaint Case                                           1., 2., 3.
    0
    .                        Other Employment(15)
                                                          0 A6109 Labor Commissioner Appeals                                                10.


                                                          0   A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                           2., 5.
                                                                    eviction)
                          Breach of Contract/ Warranty      •                                                                              2., 5.
                                     (06)                  El A6008 Contract/Warranty Breach -Seller Plaintiff(no fraud/negligence)
                               (not insurance)                                                                                              1., 2., 5.
                                                          0   A6019 Negligent Breach of Contract/Warranty(no fraud)
                                                                                                                                            1., 2., 5.
                                                          0 A6028 Other Breach of Contract/Warranty (not fraud or negligence)

                                                          0   A6002 Collections Case-Seller Plaintiff                                      2., 5.,6.
                                Collections (09)
                                                          0   A6012 Other Promissory Note/Collections Case                                 2., 5.

                            Insurance Coverage (18)       0   A6015 Insurance Coverage (not complex)                                        1., 2., 5., 8.

                                                          0 A6009 Contractual Fraud                                                         1., 2., 3., 5.

                              Other Contract(37)          0 A6031 Tortious Interference                                                     1., 2., 3., 5.
                                                          0 A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)             1., 2., 3., 8.

                            Eminent Domain/Inverse
                                                          0 A7300 Eminent Domain/Condemnation                Number of parcels             2.
                              Condemnation (14)

                             Wrongful Eviction (33)       0   A6023 Wrongful Eviction Case                                                 2.,6.

                                                          0 A6018 Mortgage Foreclosure                                                     2.,6.
                            Other Real Property(26)       0   A6032 Quiet Title                                                            2.,6.
                                                          0 A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)   2.,6.

                         U nlawful Detainer-Commercial
                                                       0 A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)               2., 6.
                                      (31)
    Unlawful Detairier




                          Unlawful Detainer-Residential
                                                          0 A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)           2.,6.
                                     (32)

                              Unlawful Detainer-
                                                          0 A6020F Unlawful Detainer-Post-Foreclosure                                      2.,6.
                             Post-Foreclosure (34)

                          Unlawful Detainer-Drugs (38)    0 A6022 Unlawful Detainer-Drugs                                                  2.,6.




 LACIV 109(Rev. 03/11)                                    CIVIL CASE COVER SHEET ADDENDUM                                                Local Rule 2.0
 LASC Approved 03-04                                         AND STATEMENT OF LOCATION                                                     Page 2 of 4
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SHORT TITLE:                                                                                                              CASE NUMBER
                                           RAMIREZ, et al. v. FCA US LLC, et al.


                                                         A                                                        B                                            C
                                              Civil Case Cover Sheet                                        Type of Action                        Applicable Reasons -
                                                    Category No.                                           (Check only one)                        See Step 3 Above
                                                         .    -.                                 •
                                                Asset Forfeiture (05)       0 A6108 Asset Forfeiture Case                                         2.,6.
        Judicial Review




                                             Petition re Arbitration (11)   0 A6115 Petition to Compel/Confirm/Vacate Arbitration                2., 5.

                                                                            0 A6151 Writ - Administrative Mandamus                                2., 8.
                                                Writ of Mandate (02)        0 A6152 Writ - Mandamus on Limited Court Case Matter                 2.
                                                                            0 A6153 Writ - Other Limited Court Case Review                       2.

                                             Other Judicial Review (39)     0 A6150 Other Writ /Judicial Review                                   2., 8.


                                           Antitrust/Trade Regulation (03) 0 A6003 Antitrust/Trade Regulation                                     1., 2., 8.
        Provisionally Complex Litigation




                                              Construction Defect(10)       0 A6007 Construction Defect                                           1., 2., 3.

                                             Claims Involving Mass Toil
                                                                            0 A6006 Claims Involving Mass Tort                                    1., 2., 8.
                                                       (40)

                                              Securities Litigation (28)    0 A6035 Securities Litigation Case                                    1., 2., 8.

                                                    Toxic Tort
                                                                            0 A6036 Toxic Tort/Environmental                                      1., 2., 3., 8.
                                                Environmental (30)

                                            Insurance Coverage Claims
                                                                            0 A6014 Insurance Coverage/Subrogation (complex case only)            1., 2.. 5., 8.
                                              from Complex Case (41)
                                                                        •
                                                                            0 A6141 Sister State Judgment                                         2., 9.
                                                                            0 A6160 Abstract of Judgment                                         2.,6.

                                                   Enforcement              0 A6107 Confession of Judgment(non-domestic relations)               2., 9.
                                                 of Judgment(20)            0 A6140 Administrative Agency Award (not unpaid taxes)               2., 8.
                                                                            0 A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax     2., 8.
                                                                            0 A6112 Other Enforcement of Judgment Case                           2., 8., 9.

                                                     RICO (27)              0 A6033 Racketeering (RICO) Case                                      1., 2., 8.
   Civil Complaints
    Miscellaneous




                                                                            0 A6030 Declaratory Relief Only                                       1., 2., 8.

                                                Other Complaints            0 A6040 Injunctive Relief Only(not domestic/harassment)              2., 8.
                                            (Not Specified Above)(42)       0 A6011 Other Commercial Complaint Case (non-tort/non-complex)        1., 2., 8.
                                                                            0 A6000 Other Civil Complaint (non-tort/non-complex)                 1., 2., 8.

                                              Partnership Corporation
                                                                            0 A6113 Partnership and Corporate Governance Case                    2., 8.
                                                 Governance (21)

                                                                            0 A6121 Civil Harassment                                             2., 3., 9.
                                                                            0 A6123 Workplace Harassment                                         2., 3., 9.
                                                                            0 A6124 Elder/Dependent Adult Abuse Case                             2., 3., 9.
                                                 Other Petitions
                                              (Not Specified Above)         0 A6190 Election Contest                                             2.
                                                      (43)
                                                                            0 A6110 Petition for Change of Name                                  2., 7.
                                                                            0 A6170 Petition for Relief from Late Claim Law                      2., 3., 4., 8.
                                                                            0 A6100 Other Civil Petition                                         2., 9..




 LACIV 109(Rev. 03/11)                                                      CIVIL CASE COVER SHEET ADDENDUM                                    Local Rule 2.0
 LASC Approved 03-04                                                           AND STATEMENT OF LOCATION                                         Page 3 of 4
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SHORT TITLE:                                                                              CASE NUMBER
               RAM IREZ, et al. v. FCA US LLC, et al.


 Item III. Statement of Location: Enter the address of the accident, party's residence or place of business, performance, or other
 circumstance indicated in Item II., Step 3 on Page 1, as the proper reason for filing in the court location you selected.

                                                                     ADDRESS:
  REASON: Check the appropriate boxes for the numbers shown          1305 S. Mountain Ave.
  under Column C for the type of action that you have selected for
  this case.

       01. 02. 03. 04. 05. 06. 07. 08. 09.010.

  CITY:                                    STATE:      ZIP CODE:

  Monrovia                                 CA         91016


 Item IV. Declaration of Assignment: I doclaro undor ponalty of perjury undor the laws of the State of California that tho foregoing is true
 and correct and that the above-entitled matter is properly filed for assignment to the Stanley Mosk                    courthouse in the
 Central                    District of the Superior Court of California, County of Los Angeles[Code Civ. Proc., § 392 et seq., and Local
 Rule 2.0, subds. (b),(c) and (d)].



 Dated: 12/16/2021
                                                                                     (SIGNATURE OF ATTORNEY/FILING PARTY)




 PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
 COMMENCE YOUR NEW COURT CASE:

      1. Original Complaint or Petition.
      2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
      3. Civil Case Cover Sheet, Judicial Council form CM-010.

      4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
         03/11).
      5. Payment in full of the filing fee, unless fees have been waived.
     6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
        minor under 18 years,of age will be required by Court in order to issue a summons.

      7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
         m ust be served along with the summons and complaint, or other initiating pleading in the case.




 LACIV 109(Rev. 03/11)                   CIVIL CASE COVER SHEET ADDENDUM                                                 Local Rule 2.0
 LASC Approved 03-04                        AND STATEMENT OF LOCATION                                                       Page 4 of 4
